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                          UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

 PRINCESS DENNAR, M.D.                         *    CIVIL ACTION

 VERSUS                                        *    NO. 2:20-cv-2679

 THE ADMINISTRATORS OF THE                     *    JUDGE GREG GERARD GUIDRY
 TULANE EDUCATIONAL FUND
                                               *    MAGISTRATE JUDGE KAREN ROBY



                                           ORDER

       Having considered the Request for Oral Argument filed by Dr. Princess Dennar, M.D.

(“Dr. Dennar”), IT IS ORDERED that the Request for Oral Argument is GRANTED. Oral

argument shall be conducted on the _______ day of _________, 2021, at __________ a.m. / p.m.

       New Orleans, Louisiana, this ____day of July, 2021.



                                           ___________________________________
                                           HONORABLE GREG GUIDRY
                                           UNITED STATE DISTRICT COURT JUDGE
                                           EASTERN DISTRICT OF LOUISIANA




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